      Case 1:06-cr-20364-TLL-CEB ECF No. 45, PageID.105 Filed 08/16/06 Page 1 of 2
O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT
                       EASTERN                                    District of                                MICHIGAN
          UNITED STATES OF AMERICA
                               V.                                            ORDER OF DETENTION PENDING TRIAL
          JASON D. LEE,                                                    Case      1:06-CR-20364-4BC
                            Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                            Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense              G stat
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
      G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      G an offense for which the maximum sentence is life imprisonment or death.
      G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                     .
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
           § 3142(f)(1)(A)-©, or comparable state or local offenses.
G (2) The  offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
      for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
      safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                            Alternative Findings (A)

     (1) There is probable cause to believe that the defendant has committed an offense
X
             for which a maximum term of imprisonment of ten years or more is prescribed in 21U.S.C. §801 et.seq.                                        .
         G under 18 U.S.C. § 924©.
X (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
      the appearance of the defendant as required and the safety of the community.
                                                            Alternative Findings (B)
  (1) There is a serious risk that the defendant will not appear.
  (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                           Part II—Written Statement of Reasons for Detention
     I find that the credible testimony and information submitted at the hearing establishes by       clear and convincing evidence          a prepon-
derance of the evidence that
detention is appropriate in this matter. The information presented at the hearing reveals that the defendant is a resident of this district. The
defendant is also un-employed at this time. Further information presented by the Pretrial Officer indicates that the defendant has used two
different dates of birth and Social Security Numbers. It further appears that he has a prior State court felony drug conviction. The instant
offense appears to have been committed while the defendant was under the supervision of the Michigan Department of Corrections. Based
upon the foregoing information, I find that the defendant has exhibited a pattern of continued criminal behavior and that he has not overcome
the presumption that no conditions or combination of conditions will assure he appearance before the court and the safety of the community.
He shall be detained without bond pending trial in this matter. The issue of bond may be raised again should the defendant’s circum-
stances change. IT IS SO ORDERED.
                                                 Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.


    Date: August 16, 2006
                                                                              s/ Wallace Capel, Jr.


                                                                           WALLACE CAPEL, JR. U.S. MAGISTRATE JUDGE
            Case 1:06-cr-20364-TLL-CEB ECF No. 45, PageID.106 Filed 08/16/06 Page 2 of 2
        O AO 472 (Rev. 12/03) Order of Detention Pending Trial
                                                                                                         Name and Title of Judge
        *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or ©
        Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).




                                                             CERTIFICATE OF SERVICE

I hereby certify that on August 16, 2006 , I electronically filed the foregoing paper with the Clerk of the Court using the ECF
system which will send such notification of such filing to the following: Michael Hluchaniuk, Assistant U.S. Attorney , and I
hereby certify that I have mailed by United States Postal Service/hand delivered the paper to the following non-ECF
participants: Daniel G. VanNorman, Esq., 18 E. Nepessing, Lapeer, MI 48446, United States Marshal Service, 600 Church St.,
Flint, MI, 48502, Pretrial Services Officer, 600 Church St., Flint, MI 48502.

                                                                                                            s/James P. Peltier
                                                                                                            James P. Peltier
                                                                                                            Courtroom Deputy Clerk
                                                                                                            U.S.District Court
                                                                                                            600 Church St.
                                                                                                            Flint, MI 48502
                                                                                                            810-341-7850
                                                                                                            pete peltier@mied.uscourts.gov
